PI
07/20/20 GAS@12380590GaxDoc 1-10 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 1 of #1003/004

7 “<

FORECLOSURE MEDIATION : STATE OF CONNECTICUT '
CERTIFICATE SUPERIOR COURT icp a
JD-CV-108 Rev. 7-15 > JUDICIAL BRANCH WO.)
C.G.S. §8 48-31k, 40-31/) PLA. 16-124 : www Jud. cL. gov
Inatructlons to Homeowner Applicant . FIMREQ

1, Use thie form If the return date in your cage Is on or after July 1, 2009.

2. Fill out thle Certificate form and an Appéarance form, JD-CL-12 (available at the courthouse or online at wuawJud.ct.gay) tH it INC

and file them with the court not more than 15 days after tha return date on the Summons.
3, You must mall or deliver a copy of this complated Certificate form to the plaintiff's attorney, or to the plaintiff if tha plaintiff
\s Not represented by an attorney, and to all partles who have filed an appearance In the caas,

This form will be used to determine your eligibility for the Foreclosure Mediation Program.

Type or Print Legibly '
Name of case (Flainti¥ on Summons vs, Defandant on Summons) . “Docket number (To be illled in by court stat)

FST CV 18 6036479 S

Wilmington Trust vs. Krishna et al. :
Raturn date (On upper right portian of Summons) | Judicial District of (On upper left portion of Summons) _

5/29/18 . Stamford/Norwalk at Stamford
Your name

Jayardman Krishna
Addrase (Number, street, town, state, Zip coda)

1768 Oanoke Ridga, New Canaan, CT 06840

Talephone number : . _| Business phone Cell phone

( 203 ) 832-6120 ( ) (__)

A. If you are an individual, answer the following questions; :
1. Do you own the property? [x] Yes [-] No
2. Do you live In the property? Ix} Yes  [_]No
3, ts it your primary residence? [x] Yes []No
4. Is ita 1, 2,3 or 4 family residential property lacated in Connecticut? [x] Yes [J] No
5. Is this a mortgage foreclosure? [x] Yes [|] No
8. Are you @ borrower on the note? Ix} Yes [] No

if you are not a borrower on the note, but answered "yes" to questions one (1) through five (5) and you are the spouse
_of former spouse of a borrower, go to Section C, on Page 2.

If you answered “yes” fo quastions one (1) through six (6) and another defendant In this case has requested or may
request In Section C fo participate In the Foreclosure Mediation Program as a Permitted Successor-in- interest, who
became the owner of the property as a result of divorce, legal separation, or a property settlement agreement related to
a divorce or legal separation, go to Section D,17.

OR
B, If you are filing this on behalf of a religious organization, answer the following questions:
1, Does a religious organization own the property? [] Yes - [JNo
2. Is the property located in Connecticut? [] Yes ([J]No
3. Is the religious organization the borrower on the note? []Yes [_JNo
4, Is the return date in the case on or after October 1, 20117 [] Yes [J]No

ADA NOTICE :
The Judicial Branch of the State of
Connecticut complles with the Americans with
Disabllitias Act (ADA). If you need a
reasonable accommedation in accordance
with the ADA, contact a court clerk or an ADA
contact person Ilsted at www jud.ct.gov/ADA.

CHOY OC TT 810

_LOMLStd AWiaiGAr
WIVAYON-GUOARWIS
LYNG3 YONSdNS

Continued on next page...

ERODE Or | Page 1 of 2

‘1.00

— 07/20/20CBRRL3V30ORAXDOC 1-10 Filed 05/24/23 Entered 05/24/23 11:28:27 Page 2 of 004/004

> OM

¢. Permitted Successors-In-Interest

lf you are not a borrower on the note, but answered “yes” to questions one (1) through five (5) In Section A
and you are the spouse or former spouse of a borrower, you may be able to participate in the Foreclosure
Mediation Program as a Permitted Successor-ln-Interest. Answar the following questions to halp the Court
determine If you qualify:
1. Are you a defendant in this case? Clyes ([] No
2. Is the return date In this case on or after October 1, 20157 LJ] Yes [J No
3, If you answered “yes” to one (1) and two (2), how did you become the owner of the property?
(check the box that applies to you, If any) 4 :
(1 #3a. | became the only owner of the property when it was transferred to me from my deceased spouse's astata.
Ci 3b. ! became the only owner of the property because my deceased spouse and | held Joint title to the property.
[] 3c. | bacame the owner of the property because It was transferred to me as a result of a divorce, légal
separation, or a property settlement agreement related to a divorce or legal separation.

if you checked 3c., go to Section D.2 and Section D.3.

D. Consents “

. Ifa Permitted Successor-in-Interest, who became the owner of the property as a result of divorce, legal
separation, or a property settlement agreement related to a divorce or legal separation, has applied or may
apply for the Foreclosure Mediation Program, you must complete this section to qualify for the Foreclosure
Mediation Program: (check only the box(es) that apply)

. If you answered “yes” to questions one (1) through six (6) in Section A and another defendant has
requested or may request to participate In the Foreclosure Mediation Program as a Permitted Successor-in-
Interest, who became the owner of the property as a result of divorce, legal separation, or a property
settlement agreement related to a divorce or legal separation, check this box to complete your consent:

[] | consent to the plaintiff mortgagee's disclosure of my non-public personal financial information to the
" gpouse or former spouse who qualifies as a Permitted Successor-in-Interest to the extent that the
plaintiff mortgagee has that information.

2. If you answered "yes" to questions one (1) and two (2) in Section C, and checked box 3c,, check this box to
complete your consent:
([] | consent to the plaintiff mortgagee's disclosure of my non-public personal financial Information to all
borrowers on this note, to the extent that the plaintiff mortgagee has that information.
_ 3. If you answered "yes" to questions one (1) and two (2) in Section C, and checked box 3c., check this box to
certify that all borrowers on the note have provided their consent:
(-] | certify that all borrowers on the note have agreed to allow the plaintiff mortgagee to disclose their non-

public personal financial Information to me, to the extent that the plaintiff mortgagee has that.
information, and that the borrowers have shown their consent by (check any box that applies):

“eomemremnen, ears masann swan --£-}--Submitting-a-Fereclosure-Mediation-Gertifioato-containing-thoir-Congents- OF mm eee 2m nem rere one

LC] Giving documentation to the plaintiff mortgagee that allows for the full disclosure of the borrower's
rion-publie personal financial Information to me,

Signed —oooe Print name of person signing Date signed
\ 4 oe Jayardman Krishna 7/20/18

— Certification .
i cartify that a copy of this document was or will immediately be mailed or delivered electronically or non-electronically on
(date) 7/20/18 to all attorneys and self-represented partlas of record and that written consent for elactronic delivery

was received from all aitorneys and self-rapresented parties of racord who Were or will immediately be electronically served.

Nama ond address of each party and atlorney mat copy was or Wil Immadiately be mailed or delivered to”

McCalla Raymer Lelbert Plerce, 50 Weston Street, Hartford, CT (06120

Marlnoscl Law Group, 275 West Natick Raod, Site 500 Warwick, RI 02886

O'Sulllivan McCormack Jansen & Bliss PC 100 Great Meadow Road, STE 100, Watherefield, CT 06109

"lf om attach adaltlonal sheet or sheets with name and address which the copy was or will Immediately be malled or delivered to.

Signed (Signaivre of filer] —_———— Print or lype name of person signing Date signed

> —_—— Jayardman Krishna 7/20/18
“Malling address (Number, sireet, town, stale and zip code) , Telaphone number

1760 Oneoke Ridge, New Canaan, CT 06840 ,

Print Eorm | Page 2 of 2 ERESSCE ON |
